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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Myra Brown and Alexander Taylor
Plaintiff
v.                                                             4:22-cv-908
                                                               Civil Action No.
U.S. Department of Education, et al.
Defendant

       CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Myra Brown and Alexander Taylor



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Myra Brown, Alexander Taylor
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                                                              Date:                 October 10, 2022
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil => Other
Documents => Certificate of Interested Persons/Disclosure Statement.
